              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
                    CASE NO. 2:13-CR-2-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
                  Plaintiff,     )
         vs.                     )                             ORDER
                                 )
EUDINE TRENAE WILSON (1) and     )
MARIE LUZINSKI RAYMOND (2).      )
                                 )
                  Defendants.    )
________________________________ )

      THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 95] with prejudice only the Defendants Eudine Trenae

Wilson and Marie Luzinski Raymond from the Bill of Indictment. The Court

concludes that, pursuant to Fed.R.Crim.P. 48(a), the Government’s Motion

should be allowed.

      IT IS, THEREFORE, ORDERED that only the Defendants Eudine

Trenae Wilson and Marie Luzinski Raymond are hereby dismissed with

prejudice from the Bill of Indictment filed herein.

      IT IS SO ORDERED.
                                    Signed: January 24, 2014




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